Case 2:20-cv-11718-GAD-DRG ECF No. 43-9, PagelD.1017 Filed 01/31/22 Page 1of1

EXHIBIT 5

 

Margit Chadwell

From: BE Parncia

Sent: Wednesday, October 31, 2018 8:42 PM

To: Margit Chadwell

Ce: Pamela

Subject: Concern regarding Medical Student

Attachments: WSU Submitted Complaint.pdf; Sample Harassment Text 1,jog; Sample Harassment Text 2,jpg; Lawyer text.jpg; Fwd: Perliminary Hearing,

36th Distric Court 11/15/2018; 36th District Courtjpg; 36th District Court 2,jpq

 

MDA yes alee eter year A ve

Hello Dr. Chadwell- Thank you for taking time and listening to our concerns today, as well as for helping with some further suggestions. My daughter is

Her phone number is BEEN | talked with her after | spoke with you and please feel free to contact whenever needed. | had
mentioned she tried to file the police report in Colorado on Monday, but she had to go to work. | also mentioned she contacted the police again Tuesday and they were
sending someone to her apartment but she again had to go to work. Since today is Halloween, she thought they would be very busy. She has tomorrow, Thursday 11/1,
off work and will contact the police again to file the report. She will also ask about the PPO as you had suggested and find out if she needs one in both Colorado and
Michigan(or maybe it covers both). After she files the police report in Colorado, she is to call WSU police back to let them know. She'll give WSU police permission to
communicate with you at that time. | have attached documents we discussed plus a couple more. The first is the complaint {Mj filed with the WSU police. The
next three are sample text from Anthony Eid, which have his name at the top. The Preliminary Hearing 36" District Court attachment is what was emailed from
Anthony's lawyer. Asi states in the WSU Complaint, she called and verified this was not from the law firm on the email. The email address has an extra “f’ and
the mailing address leaves off a number. Also, my husband works for the Department of Defense and spoke with lawyers at work to verify that such a document would
net be sent by email. Also of note, for civil cases, there are not lawyers involved was also verified. The next two are screen shots of the 36"" District Court Docket for
11/15. They show that a [is on the docket for that day, although it is not J The next screen shot shows that is for a traffic/drivers license issue, not a civil
case. J also called the 36" district court to confirm that she is not on the docket. But the 11/15 date was picked to scare or intimidate her, since there is a
listed. This may have been to lure her to a specific location on a specific date, threaten with up to a $5000 claim to obtain money or to obtain her passwords. As |
mentioned during our discussion, | am very concerned about someone with this character becoming a doctor. | would not want this type of person caring for my family,
friends or any patients/families. Please feel free to contact me for anything further, as well as update me when you are able to.

Thank you,
Pam

cell:

work:

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